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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 17-1572V
                                        (not to be published)


    DEANNE A. GRAF,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: February 4, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Peter M. Young, Habush, Habush, & Rottier, S.C., Wausau, WI, for Petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On October 20, 2017, Deanne A. Graf (“Petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered “Shoulder
Injuries Related to Vaccine Administration (“SIRVA”), including, tendinitis, tendinosis,
frozen shoulder, and adhesive capsulitis of the left shoulder, and irritation of the left radial
nerve,” resulting from the influenza vaccination she received on October 27, 2014.
(Petition at 1). On June 19, 2019, a decision was issued awarding compensation to
Petitioner based on the parties’ stipulation. (ECF No. 35).

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        Petitioner has now filed a motion for attorney’s fees and costs, dated January 6,
2020, (ECF No. 39), requesting a total award of $12,293.04 (representing $11,745.00 in
fees and $548.04 in costs). In accordance with General Order #9 counsel for Petitioner
represents that Petitioner incurred no out-of-pocket expenses. (Id). Respondent reacted
to the motion on January 9, 2020 indicating that he “does not object to the overall amount
sought” and that his “lack of objection to the amount sought in this case should not be
construed as an admission, concession, or waiver as to the hourly rates requested, the
number of hours billed, or the other litigation related costs.” (ECF No. 40). Petitioner did
not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $12,293.04 (representing $11,745.00 in attorney’s fees and $548.04 in
costs) as a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s
counsel. In the absence of a timely-filed motion for review (see Appendix B to the Rules
of the Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
